

Matter of City of Jamestown v Town Council of Town of Ellicott (2022 NY Slip Op 00536)





Matter of City of Jamestown v Town Council of Town of Ellicott


2022 NY Slip Op 00536


Decided on January 28, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 28, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., NEMOYER, CURRAN, WINSLOW, AND BANNISTER, JJ.


15 CA 20-01587

[*1]IN THE MATTER OF APPLICATION OF CITY OF JAMESTOWN, PETITIONER-RESPONDENT,
vTOWN COUNCIL OF TOWN OF ELLICOTT AND BOARD OF TRUSTEES OF VILLAGE OF FALCONER, RESPONDENTS-APPELLANTS. (APPEAL NO. 2.) 






HARRIS BEACH PLLC, BUFFALO (ALLISON B. FIUT OF COUNSEL), FOR RESPONDENTS-APPELLANTS. 
BOND, SCHOENECK &amp; KING, PLLC, SYRACUSE (STEPHANIE M. CAMPBELL OF COUNSEL), FOR PETITIONER-RESPONDENT. 


	Appeal from an amended judgment (denominated amended decision and order) of the Supreme Court, Chautauqua County (Lynn W. Keane, J.), entered November 17, 2020 in a proceeding pursuant to CPLR article 78. The amended judgment, inter alia, granted the petition and determined that the subject annexation petition is legally compliant. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Eric D.  [appeal No. 1], 162 AD2d 1051, 1051 [4th Dept 1990]).
Entered: January 28, 2022
Ann Dillon Flynn
Clerk of the Court








